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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )      Case No. 4:18 CR 975 ERW
                                          )
DUSTIN BOONE                              )
                                          )
             Defendant.                   )


                                      ORDER

      IT IS HEREBY ORDERED the sentencing hearing as to defendant Dustin

Boone is set for Wednesday, September 15, 2021 at 10:00 a.m. in Courtroom

3N.

      IT IS FURTHER ORDERED the deadline for filing objections, if any, to

the Presentence Report as to defendant Dustin Boone is August 25, 2021.

      IT IS FURTHER ORDERED no objections shall be filed after the deadline

without leave of the Court. A request for leave to file objections out of time must

be in writing and supported by reasons for the request.

      IT IS FURTHER ORDERED the parties shall inform the Court, in writing,

and not less than ten (10) days prior to the sentencing date, whether testimony is to

be presented at sentencing and, if so, the anticipated number of witnesses and the
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estimated length of such testimony.

      IT IS FINALLY ORDERED the parties must file any memoranda no later

than seven (7) days before sentencing date except that a response to a sentencing

memorandum may be filed no later than five (5) days before the sentencing date.



                                      ______________________________
                                      E. RICHARD WEBBER
                                      UNITED STATES DISTRICT JUDGE

Dated this 23rd day of June, 2021.




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